        Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 1 of 10




                                   STATEMENT OF FACTS

        Your affiant,                  , is a Special Agent with the Federal Bureau of Investigation
(“FBI”), assigned to the Joint Terrorism Task Force (“JTTF”). I am based out of the San Francisco
Field Office, San Jose Resident Agency. In my duties as a Special Agent, I have gained training
and experience in interviewing and interrogation techniques, arrest procedures, search warrant
applications, the execution of searches and seizures, the exploitation of lawfully obtained evidence
and data, and various other procedures. Currently, I am tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

                 Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
        Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 2 of 10




President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                              Identification of Matthew KOHLER

       On or about February 16, 2023, the FBI received a tip identifying Matthew KOHLER in
images taken inside the U.S. Capitol building on January 6, 2021. Following receipt of this tip,
your affiant obtained KOHLER’s driver’s license photograph from the California Department of
Motor Vehicles.

       According to records lawfully obtained from Google, a Google account associated with the
email address kohler***@gmail.com 1 and with a phone number ending in -2506 (the “2506
Number”) was identified as having been used in a geographic area that included the interior of the
U.S. Capitol between approximately 2:24 p.m. and 2:55 p.m. EST on January 6, 2021. Public
records associate the 2506 Number with KOHLER.

        I also reviewed closed circuit television (“CCTV”) footage taken from inside the Capitol
and identified a person matching KOHLER’s appearance entering and remaining in the Capitol
building on January 6, 2021. In the CCTV footage I reviewed, KOHLER is pictured wearing a
black puffer jacket, blue jeans, red hooded jacket with the words “Make America Great Again” on
the front, and an American flag tied around his neck and draped down his back. At various points
throughout his time in and around the Capitol, KOHLER can sometimes be seen wearing
sunglasses or a black face mask.

        On or about February 13, 2024 and February 14, 2024, your affiant personally observed
KOHLER while conducting physical surveillance at the home address listed on KOHLER’s
driver’s license and at KOHLER’s place of employment.

                           KOHLER’s Activities at the U.S. Capitol

       On January 6, 2021, KOHLER was part of a large crowd walking toward the U.S. Capitol,
approaching from the west.




1
 The email address contained three numbers, which have been replaced by asterisks in this
affidavit.
       Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 3 of 10




            Image 1: Screenshot of open-source video, with KOHLER circled in red

        By 2:19 p.m., KOHLER had joined the crowd in advancing up a set of exterior stairs on
the northwest side of the Capitol.
       Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 4 of 10




              Image 2: Screenshot of Capitol CCTV, with KOHLER circled in red

       From the Upper West Terrace, KOHLER entered the Capitol building through the Senate
Wing Door at 2:23 p.m.— ten minutes after the first breach of the Capitol building, which took
place at this entrance. At the time of KOHLER’s entry, glass in the door was visibly cracked,
nearby windows were shattered, and a loud alarm siren was blaring.




              Image 3: Screenshot of Capitol CCTV, with KOHLER circled in red
       Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 5 of 10




       Once inside, KOHLER walked in the direction of the area of the Capitol known as “the
Crypt.” KOHLER reached the Crypt at approximately 2:25 p.m., just as the crowd of rioters who
had already gathered there began to push past a line of USCP officers in the middle of the room.
CCTV and open-source footage show KOHLER entering the Crypt as the crowd shouts and surges
forward. Moments later, KOHLER can be seen joining the crowd in chanting “OUR HOUSE” and
“STOP THE STEAL.”




          Image 4: Screenshot of Capitol CCTV footage, with KOHLER circled in red
       Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 6 of 10




           Image 5: Screenshot of open-source video, with KOHLER circled in red

         KOHLER remained in the Crypt until approximately 2:32 p.m., when he walked upstairs
to the Capitol building’s second floor and entered the Rotunda at 2:33 p.m. He stayed in the
Rotunda for approximately eight minutes, during which he posed for photographs, joined other
rioters in chanting, and appeared to film his surroundings on his cellular phone.




          Image 6: Screenshot of Capitol CCTV footage, with KOHLER circled in red
       Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 7 of 10




        From the Rotunda, KOHLER walked south, in the direction of the House of
Representatives. He entered Statuary Hall at approximately 2:41 p.m. U.S. Capitol CCTV footage
depicts KOHLER running toward the House of Representatives, apparently in response to other
rioters waving the crowd in that direction.




Image 7: Screenshot of Capitol CCTV footage, with KOHLER circled in red and a rioter waving
     for others to move in the direction of the House of Representatives circled in yellow

       Within a few seconds, KOHLER joined a crowd that had formed outside the entrance to
the House Chamber.
      Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 8 of 10




         Image 8: Screenshot of Capitol CCTV footage, with KOHLER circled in red

      KOHLER moved forward with the crowd, and, within two minutes, he was in close
proximity to the House Chamber entrance.




         Image 9: Screenshot of Capitol CCTV footage, with KOHLER circled in red
       Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 9 of 10




       At approximately 2:45 p.m., shortly after a group of police officers reached the House
Chamber entrance, KOHLER turned around and walked back through Statuary Hall and to the
Rotunda. He re-entered the Rotunda at 2:47 p.m. and remained there for approximately three
minutes.




         Image 10: Screenshot of Capitol CCTV footage, with KOHLER circled in red

      KOHLER then left the rotunda and proceeded to exit the Capitol building through the East
Rotunda Doors at 2:51 p.m.




         Image 11: Screenshot of Capitol CCTV footage, with KOHLER circled in red
       Case 1:24-mj-00141-RMM Document 1-1 Filed 04/23/24 Page 10 of 10




                                  Probable Cause Conclusions

        Based on the foregoing, your affiant submits that there is probable cause to believe that
KOHLER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant also submits there is also probable cause to believe that KOHLER violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      __                             _________

                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 23rd day of April 2024.
                                                                        2024.04.23
                                                                        14:35:00 -04'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
